             Case 1:20-cv-25184-MGC Document
JS 44 (Rev. 10/20) FLSD Revised 10/14/2020   1-4 COVER
                                          CIVIL  Entered SHEET
                                                         on FLSD Docket 12/21/2020 Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)     PLAINTIFFS Brian Jamie Roethlisberger                                                               DEFENDANTS VIX, Inc. aka VIX Florida, Inc. and Francisco
                                                                                                                          Urbina


   (b)    County of Residence of First Listed Plaintiff      Kings, NY                                         County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:                     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                         THE TRACT OF LAND INVOLVED.
   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
     SRIPLAW, 21301 Powerline Road, Suite 100, Boca Raton, FL 33433
     (561.404.4350)
(d) Check County Where Action Arose:                 MIAMI- DADE        MONROE        BROWARD        PALM BEACH      MARTIN     ST. LUCIE         INDIAN RIVER    OKEECHOBEE        HIGHLANDS


II. BASIS OF JURISDICTION                         (Place an “X” in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                          (For Diversity Cases Only)                                           and One Box for Defendant)
    1    U.S. Government               ■3                   Federal Question                                                       PTF           DEF                                           PTF DEF
           Plaintiff                           (U.S. Government Not a Party)                         Citizen of This State           1              1     Incorporated or Principal Place          4      4
                                                                                                                                                          of Business In This State

    2    U.S. Government                  4                    Diversity                             Citizen of Another State            2            2   Incorporated and Principal Place          5          5
           Defendant                           (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                     Citizen or Subject of a             3            3   Foreign Nation                            6          6
                                                                                                       Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)                              Click here for: Nature of Suit Code Descriptions
           CONTRACT                                           TORTS                                    FORFEITURE/PENALTY                       BANKRUPTCY                           OTHER STATUTES
  110 Insurance                         PERSONAL INJURY                  PERSONAL INJURY                625 Drug Related Seizure                422 Appeal 28 USC 158              375 False Claims Act
  120 Marine                            310 Airplane                     365 Personal Injury -              of Property 21 USC 881              423 Withdrawal                     376 Qui Tam (31 USC
  130 Miller Act                        315 Airplane Product                 Product Liability          690 Other                                   28 USC 157                      3729 (a))
  140 Negotiable Instrument                 Liability                    367 Health Care/                                                                                          400 State Reapportionment
  150 Recovery of Overpayment           320 Assault, Libel &                 Pharmaceutical                                                      PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment             Slander                          Personal Injury                                                ■   820 Copyrights                     430 Banks and Banking
  151 Medicare Act                      330 Federal Employers’               Product Liability                                                  830 Patent                         450 Commerce
  152 Recovery of Defaulted                 Liability                    368 Asbestos Personal                                                  835 Patent – Abbreviated           460 Deportation
                                                                                                                                                  New Drug Application
                                                                                                                                                840 Trademark                      470 Racketeer Influenced and
        Student Loans                   340 Marine                            Injury Product                                                    880 Defend Trade Secrets           Corrupt Organizations
                                                                                                                                                 Act of 2016
      (Excl. Veterans)                  345 Marine Product                  Liability                            LABOR                            SOCIAL SECURITY                  480 Consumer Credit
                                                                                                                                                                                     (15 USC 1681 or 1692)
  153 Recovery of Overpayment                Liability                 PERSONAL PROPERTY                710 Fair Labor Standards                861 HIA (1395ff)
      of Veteran’s Benefits             350 Motor Vehicle               370 Other Fraud                     Act                                 862 Black Lung (923)               490 Cable/Sat TV
  160 Stockholders’ Suits               355 Motor Vehicle               371 Truth in Lending            720 Labor/Mgmt. Relations               863 DIWC/DIWW (405(g))             850 Securities/Commodities/
  190 Other Contract                        Product Liability           380 Other Personal              740 Railway Labor Act                   864 SSID Title XVI                 Exchange
  195 Contract Product Liability        360 Other Personal                  Property Damage             751 Family and Medical                  865 RSI (405(g))                   890 Other Statutory Actions
  196 Franchise                             Injury                      385 Property Damage                 Leave Act                                                              891 Agricultural Acts
                                        362 Personal Injury -               Product Liability           790 Other Labor Litigation                                                 893 Environmental Matters
                                            Med. Malpractice                                            791 Empl. Ret. Inc.                                                        895 Freedom of Information
       REAL PROPERTY                       CIVIL RIGHTS                PRISONER PETITIONS                   Security Act                         FEDERAL TAX SUITS                 Act
    210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:                                                         870 Taxes (U.S. Plaintiff          896 Arbitration
    220 Foreclosure                     441 Voting                       463 Alien Detainee                                                          or Defendant)                 899 Administrative Procedure
    230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate                                                  871 IRS—Third Party 26 USC          Act/Review or Appeal of
                                                                         Sentence                                                               7609                               Agency Decision
    240 Torts to Land                   443 Housing/                        Other:                                                                                                 950 Constitutionality of State
                                        Accommodations                                                                                                                             Statutes
    245 Tort Product Liability          445 Amer. w/Disabilities -       530 General                        IMMIGRATION
    290 All Other Real Property             Employment                   535 Death Penalty              462 Naturalization Application
                                        446 Amer. w/Disabilities -       540 Mandamus & Other           465 Other Immigration
                                            Other                        550 Civil Rights                   Actions
                                        448 Education                    555 Prison Condition
                                                                         560 Civil Detainee –
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN                   (Place an “X” in One Box Only)
■ 1      Original          2 Removed         3 Re-filed            4 Reinstated        5   Transferred from            6 Multidistrict           7 Appeal to               8 Multidistrict
         Proceeding          from State        (See VI               or                    another district            Litigation
                                                                                                                                                   District Judge            Litigation      9 Remanded   from
                                                                                                                                                                                               Appellate Court
                             Court             below)                Reopened              (specify)                   Transfer
                                                                                                                                                   from Magistrate           – Direct
                                                                                                                                                   Judgment                  File
VI. RELATED/                              (See instructions): a) Re-filed Case              YES        NO              b) Related Cases             YES          NO
RE-FILED CASE(S)                                           JUDGE:                                                                                   DOCKET NUMBER:
                                          Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 17 U.S.C. Section 501 - Copyright Infringement
                                          LENGTH OF TRIAL via                     days estimated (for both sides to try entire case)
VIII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION
                                                                                                        DEMAND $                                      CHECK YES only if demanded in complaint:
    COMPLAINT:                                UNDER F.R.C.P. 23
                                                                                                                                                    JURY DEMAND:                     Yes         No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                          SIGNATURE OF ATTORNEY OF RECORD
          12.21.2020
FOR OFFICE USE ONLY : RECEIPT #                              AMOUNT                            IFP                 JUDGE                                  MAG JUDGE
